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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


 Patricia Gegner,                                            Court No.:_______________
                      Plaintiff,
                                                        NOTICE OF REMOVAL
 v.

 Admiral Merchants Motor Freight, Inc.,

                      Defendant.


To:    Plaintiff Patricia Gegner, through her counsel Daniel R. Olson, Brittany Bachman
       Skemp, Bassford Remele, P.A., 100 South 5th Street, Suite 1500, Minneapolis,
       Minnesota 55402-1254.

       Defendant Admiral Merchants Motor Freight, Inc. (Defendant), through its

counsel and pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, submits this Notice of

Removal of an action from the District Court for the Fourth Judicial District for the State

of Minnesota, Hennepin County. As grounds for this Notice of Removal, Defendant

states as follows:

       1.     On November 21, 2018, Plaintiff Patricia Gegner caused copies of a

Summons and Complaint (Complaint) in the District Court for the Fourth Judicial District

for the State of Minnesota, Hennepin County (State Court), captioned Patricia Gegner v.

Admiral Merchants Motor Freight, Inc., (a true and correct copy of the Summons and

Complaint is attached as Exhibit A) to be served on Defendant.

       2.     On information and belief, Plaintiff has not yet filed the Complaint in State

Court, and therefore, there is no state court file number.
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       3.     The first date of Defendant’s notice of the Complaint for purposes of

removal was November 21, 2018.

       4.     The Complaint contains causes of action for alleged violations of the

Family and Medical Leave Act and Minnesota Human Rights Act, as well as common

law claims for defamation and negligent infliction of emotional distress.

       5.     This Court has subject matter jurisdiction over this case pursuant to 28

U.S.C. § 1331, in that it arises under the laws of the United States. Specifically, in her

Complaint, Plaintiff alleges claims arising under the Family and Medical Leave Act (29

U.S.C. § 2601, et seq.).

       6.     This Court has supplemental jurisdiction over all other claims pursuant to

28 United States Code section 1367.

       7.     Removal to this Court is proper under the provisions of 28 United States

Code sections 1441 and 1446.

       8.     This Notice of Removal is being filed within thirty (30) days of receipt of

the Complaint, and therefore, this matter is removable because the time for filing this

Notice of Removal under 28 United States Code section 1446 has not expired.

       9.     Other than Defendant’s receipt of the Summons and Complaint, Defendant

is not aware that any other pleadings have been served or filed in this matter.

       10.    Pursuant to 28 U.S.C. § 1446(d), written notice of the removal of this case

(attached hereto as Exhibit B), together with a copy of this Notice of Removal with

Exhibit A, shall be concurrently served on Plaintiff and filed in State Court.




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       WHEREFORE, Defendant prays that this action be removed from the District

Court for the Fourth Judicial District for the State of Minnesota, Hennepin County, to the

United States District Court for the District of Minnesota, and requests that this Court

assume full jurisdiction over the case herein as provided by law.



Dated: December 11, 2018                           s/Margaret R. Ryan
                                                Margaret R. Ryan (#0331181)
                                                Meagher & Geer, P.L.L.P.
                                                33 South Sixth Street, Suite 4400
                                                Minneapolis, MN 55402
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                                                Attorney for Defendant
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